                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS
                           WICHITA DIVISION


UNITED STATES OF AMERICA    )
                            )                       6:17-CR-10142-EFM-1
    v.                      )
                            )
BOGDANA ALEXANDROVNA MOBLEY )


                               NOTICE OF APPEAL

      Ms. BOGDANA ALEXANDROVNA MOBLEY, pursuant Fed. R. App. P.

4(b)(1)(A)(1), hereby respectfully notifies this Court of her appeal from its Order

(Oct. 14, 2020, ECF No. 169) to the United States Court of Appeals for

the Tenth Circuit.

      Date:          October 19, 2020

                                             Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on October 19, 2020, I electronically filed the

foregoing NOTICE OF APPEAL with the Clerk of the United States District

Court for the District of Kansas by way of the CM/ECF system, which

automatically will serve this document on the attorneys of record for the

parties in this case by electronic mail.

                                               s/ Craig M. Divine, Esq.
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